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                       Sheet 1
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                             v.                                        (For Revocation of Probation or Supervised Release)

           RHANDA RACHAEL RAMEY
                                                                       Case No. 4:11 CR00156-22 JLH
                                                                       USM No. 26850-009
                                                                        Latrece Gray
                                                                                               Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)            General/Standard/Special     of the tenn of supervision.
D was found in violation of condition(s) count(s)
                                                          - - - - - - - - - after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number              Nature of Violation                                                           Violation Ended
3                              Unlawful use/possession of controlled substances                             02/16/2017

4                                 Failure to participate in substance abuse treatment as directed           10/16/2016

5                                 Failure to submit monthly supervision reports as directed                 12/31/2016

6                                 Failure to notify probation office 10 days prior to move                  11/24/2016

       The defendant is sentenced as provided in pages 2 through __6_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic crrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 6879

Defendant's Year of Birth:           1981

City and State of Defendant's Residence:
North Little Rock, Arkansas
                                                                        J. Leon Holmes,                             U.S. District Judge
                                                                                              Name and Title of Judge

                                                                       02/23/2017
                                                                                                       Date
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                                                                                              Judgment-Page _ _
DEFENDANT: RHANDA RACHAEL RAMEY
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                                                      ADDITIONAL VIOLATIONS

                                                                                                                Violation
Violation Number               Nature of Violation                                                              Concluded
7                              Failure to work regularly at a lawful occupation as directed                     01/30/2017
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                        Sheet 2- Imprisonment
                                                                                                Judgment- Page -~3- of      6
DEFENDANT: RHANDA RACHAEL RAMEY
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                                                               IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:
SEVEN (7) MONTHS



    ~ The court makes the following recommendations to the Bureau of Prisons:
The Court recommends the defendant participate in substance abuse treatment during incarceration. The Court further
recommends placement in the FCI Aliceville, Alabama, facility so as to remain near her family.


    ~ The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
         0    at   ________ 0                          a.m.      0    p.m.    on
         0    as notified by the United States Marshal.

    0   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         0    before 2 p.m. on
         0    as notified by the United States Marshal.
         0    as notified by the Probation or Pretrial Services Office.

                                                                      RETURN

I have executed this judgment as follows:




        Defendant delivered on                                                       to

at - - - - - - - - - - - - - with a certified copy of this judgment.



                                                                                             UNITED STATES MARSHAL


                                                                             By - - - - - - - - - - - - - - - - - - - -
                                                                                          DEPUTY UNITED STATES MARSHAL
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                       Sheet 3 - Supervised Release
                                                                                              Judgment-Page   _4_ of            6
DEFENDANT: RHANDA RACHAEL RAMEY
CASE NUMBER: 4:11CR00156-22 JLH
                                SUPERVISED RELEASE
                                                                                     TWO (2) YEARS
Upon release from imprisonment, you will be on supervised release for a term of:


                                                     MANDATORY CONDITIONS
l.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days ofrelease
     from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               D The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                   substance abuse. (check ifapplicable)
4.     D You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
5.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
          where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.     D You must participate in an approved program for domestic violence. (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
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                       Sheet 3A - Supervised Release
                                                                                                 Judgment-Page _ _  5_ of           6
DEFENDANT: RHANDA RACHAEL RAMEY
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                                         STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools
needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and
condition.

I.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
       your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
       different time frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
       and when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
       from the court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
       notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
       officer within 72 hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
       officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
       from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
       officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
       or your job responsibilities), you must notify the probation officer at least I 0 days before the change. If notifying the
       probation officer at least IO days in advance is not possible due to unanticipated circumstances, you must notify the probation
       officer within 72 hours of becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
       been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
       permission of the probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
I 0.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
       that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
       nunchakus or tasers).
11.    You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
       without first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization}, the probation officer
       may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
       contact the person and confirm that you have notified the person about the risk.
13.    You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and
Supervised Release Conditions, available at: www.uscourts.gov.
Defendant's Signature
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                                         ADDITIONAL SUPERVISED RELEASE TERMS

14) All mandatory and standard conditions previously imposed remain in full force and effect.
